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RESUME OF RICHARD M, PEARL

RICHARD M. PEARL

LAW OFFICES OF RICHARD M. PEARL
1816 Fifth Street

Berkeley, CA 94710

(510) 649-0810

(510) 548-5074. (facsimile)

rpearl@interx net (e-mail)

University of California, Berkeley, B.A., Eeanomics (June 1966)
Boalt Hall School of Law, Berkeley, J.D. (June 1969)

BAR MEMBERSHIP

Member, State Bar of California (admitted January 1970)

Member, State Bar of Georgia (admitted June 1970) (inactive)

Admitted to practice before ell California State Courts; the United States Supreme Court; the
United States Court of Appeals for the District of Columbia and Ninth Circuits; the United States
District Courts for the Northem, Central, Eastern, and Southern Districts of Californix, for the
District of Arizona, and for the Northern District of Georgia; and the Georgia Civil and Superior

Courts and Court of Appeals.

EMPLOYMENT

LAW OFFICES OF RICHARD M. PEARE (April 1987 to Present): Civil litigation practice (AV
rating), with emphasis on court-awarded attorney's fees, class actions, and appellate practice.

Selected Northern California “Super Lawyer’ in Appellate Law for 2005, 2006, 2007, 2008,
2010,.2011, 2012, 2013, and 2014.

QUALIFIED APPELLATE MEDIATOR, APPELLATE MEDIATION PROGRAM, Court of
Appeal, First Appellate District (October 2000 to 2013) (program terminated).

ADJUNCT PROFESSOR, HASTINGS COLLEGE OF THE LAW (anuary 1988 to Present):
Teach Public Interest Law Practice, a 2-unit course that focuses on the history, strategies, and

issues inyolygd in.the practice of public interest law.

PEARL, McNEILL & GILLESPIE, Partner (May 1982 te March 1927}: General civil litigation
practice, 1 as described above.
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CALIFORNIA RURAL LEGAL ASSISTANCE, INC. (uly 197i to September 1983) (part-time
May 1982 to September 1983):

Director of Litigation (uly 1977 to Fuly 1982)

Responsibilities: Oversaw and supervised litigation of more than 50 attorneys in
CREA’s 15 field offices; administered and supervised staff of 4-6 Regional
Counsel; promuigated litigation policies and procedures for program; participated
in complex civil litigation.

Regional Counsel (July 1982 to September 1983 part-time)
Responsibilities: Served as co-counsel to CRLA field attorneys on complex
projects; provided technical assistance and training to CRLA field offices; oversaw
CRLA attomey’s fee cases: served as counsel on major litigntion.

Directing Attomey, Cooperative Legal Services Center (February 1974 to July
1977) (Staff Attomey February 1974 to October 1975)

Responsibilities: Served as co-counsel on major litigation with legal services
attorneys in small legal services offices throughout California; supervised and
administered staff of four senior legal services attorneys and support staff.

Directing Attomey, CRLA McFarland Office (July 1971 to February 1974) (Staff

Aftomey July 1971 to February 1972)
Responsibilities: Provided legal representation to low income persons and groups in
Kem, King, and Tulare Counties; supervised all litigation and administered staff of

ten.

HASTINGS COLLEGE OF THE LAW, Instructor, Legal Writing and Research Program

(August 1974 to June 1978)
Responsibilities: Instructed 20 to 25 first year students in legal writing and research.

CALIFORNIA AGRICULTURAL LABOR RELATIONS BOARD, Staff Attorney, General
Counsel’s Office (November 1975 to January 1976, while on leave from CRLA)
Responsibilities: Prosecuted unfair labor practice charges before Administrative Law Judges and
the A.L.R.B. and represented the A.L.RLB. in state court proceedings,

ATLANTA LEGAL AID SOCIETY, Staff Attorney (October 1969 to June 1971)

Responsibilities: Represented low-income persons and groups as part of 36-lawyer legal services
program located in Atlanta, Georgia.

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RICEARD MM. PEARL
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2011, 2012, 2013, and 2014 Supplements

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1996, 1997, 1998, 1999, 2000, 2001, 2002, 2003, 2004, 2005, 2006, 2007, and 2008

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(September 2002 and November 2002)

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A Practical Introduction to Attorney's Fees, Environmental Law News (Summer 1995)

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authored chapter on "Attorney Fees")

California Attomey’s Fees Award Practice (Cal. Cont. Ed. Bar 1982) (edited), and 1984 throngh
1993 Supplements

Program materials on attomey fees, prepared as panelist for CEB program on Attorneys’ Fees:
Practical and Ethical Considerations in Determining, Billing, and Collecting (October 1992)

Program materials on Attomney’s Fees in Administrative Proceedings: California Continuing
Education of the Bar, prepared as panelist for CEB program on Effective Representation Before
Califomia Administrative Agencies (October 1986)

Program materials on Attomey's Fees in Administrative Proceedings: California Continuing
Education of the Bar, prepared as panelist for CEB program on Attomeys’ Fees: Practical and
Ethical Considerations (March 1984)

Settlors Beware/lhe Dangers af Negotiating Statulory Fee Cases (September 1985) Los Angeles
Lawyer

Program Materials on Remedies Training (Class Actions), sponsored by Legal Services Section,
Califomiz State Bar, San Francisco (May 1983)

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SECHARD MM. PEARY
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PUBLIC SERVICE

Member, Attorneys’ Fee Task Foree, California State Bar

Chaitperson, Board of Directors, California Rural Legal Assistance Foundation
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Billing Rates Rise Discounts Abound | National Law Journal Page 1 of 3

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Billing Rates Rise, Discounts Abound

A 10 percent increase is offset by price cuts.
Katelyn Polantz, The National Law Journal
January 5, 2015

The price of a billable hour has risen by more than 10 percent in four years, as large
corporate law firms focused on their most expensive work and saved clients' money
elsewhere.

"The question is: Is anybody paying that?” Maurice Watson, chairman at Husch Blackwell,
said, looking back at hourly rates charged last year for lawyers. Husch's average rate for
partners is about $449 per hour, the firm told The National Law Journal in response to our
2014 billing survey. But $407 is closer to what the firm collects for its work.

The former number represents the "rack rate," Watson said, while the lower price factors in
discounts given to clients on the billable hour and in alternative billing arrangements.

Husch's fees are indicative of the pricier billable hour and complementary cost cuts that law
firms find for clients. The Kansas City, Mo.-founded firm was among the firms that have
reported their rates to The National Law Journal since 2010. Almost all of the highest- and
lowest-charging partners among the firms increased rates since 2010.

Partners’ hourly prices at the 40 firms that reported their numbers in 2014 now hover around
$500 an hour on average. The highest-billing partner among the survey came from Kaye
Scholer, with a $1,250 rate. The lowest-billing partner, from Frost Brown Todd, made $220,
the firms told the NLJ.

See chart: Billing Rates at the Nation's Priclest Law Firnis

The NLJ billing data also includes rates collected from public records — mostly bankruptcy
filings — for 128 additional firms during the past three years.

Although the rates charged have gone up in recent years, the amounts that clients pay have
not kept pace with inflation, legal industry leaders say.

"| think the story of billing rates is no longer as full or clear as it once was," Watson said.

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Lawyers often give discounts on their stated rates, or firms arrange alternative fee plans with
clients, including caps on fees, retainers or other flat rates for legal work. Still, firms lean an
hourly pricing more than any other model. Generally, 15 percent to 20 percent of work
comes from alternative fee structures, according to Steve Nelson of the McCormick Group
Inc., a legal consulting firm in Northern Virginia.

Dinsmore & Shohl, a Cincinnati-based firm, has changed the way it sets rates instead of
ditching the billable model.

"The billable hour is still very important. There's probably 100 reasons for that," firm
chairman George Vincent said.

Dinsmore opened an office in Washington in 2011, so billing rates for lawyers in the nation’s
capital notched higher than at the rest of the firm. At the same time, associates faced a shift
away from rates that rise in lockstep to individualized pricing, Vincent said. Dinsmore also
has added nonpartner-track associates to cut some fees. The firm's lawyers charged
between $590 and $175 in 2010, but they ranged between $850 and $160 in 2014.

The spread shows a rate expansion that mimics the decisions made by other firms —
increases for top earners while squeezing value where they can.

Associates, on average, charged $306 an hour at 28 firms in the NLJ study in 2014, an
increase of 12 percent from those firms’ average rate four years previously. The most
expensive associates’ rates pushed up at about the same pace, while a number of firms
increased their lowest-paid associates' rates by only $15 or less an hour.

The deleveraging of lawyers in the industry may account for this. Many clients now refuse to
pay for legal work performed by first-year associates, Nelson said. Associates instead train
during their first year, or work on pro bono or the equivalent of clerk and paralegal tasks.
Outsourcing some work to cheaper consultants and firms plays into the pricing models more
every year.

Many large firms are shedding lower-end practices, which fueled partners’ lateral moves in
2014, Nelson added. Large firms now often mandate that partners meet or exceed certain
rates. Some practices become priced out, so the lawyers move to less strict or lower-tiered
firms to keep their clients. Practices that work on large corporate mergers or high-stakes
litigation saw less lateral movement because of rate pressure. Gibson, Dunn & Crutcher,
with an $1,800 hourly rate for Theodore Olson, an outlier, had the highest rate the NLJ could
find in public records.

The billing rate story was different in bankruptcy matters. Those numbers showed that the
practice area, which runs countercyclical to the U.S. economy, suffered as companies
recovered from the economic recession. Partners and associates working with clients in
bankruptcy often must report their hourly rates in court.

Those partners averaged $452 per hour in 2014, compared with an average rate of $480 in
2012. The NLJ found fewer partners mentioned in new bankruptcy filings in 2014 compared
with the previous years. On average over three years, bankruptcy partners charged about
$475 an hour, according to records from more than 2,300 firm shareholders.

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Billing Rates Rise Discounts Abound | National Law Journal Page 3 of 3

In 2012, when rates were higher, elite New York firms told courts their partners earned
$4,000 an hour or more on the werk. This $1,000-an-hour club included three partners from

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Paul, Weiss, Rifkind, Wharton & Garrison and two partners from Weil, Gotshal & Manges.

It also included a team of nine Sullivan & Cromwell partners who charged $1,150 an hour
each to represent Eastman Kodak Co. in its bankruptcy.

in 2014, the rates for bankruptcy work topped out at about $900 an hour, according to the
data. Two partners from Pachulski Stang Zieh! & Jones, a Los Angeles corporate
restructuring boutique, charged $875 and $895 each for their work on the bankruptcy of

staffing company Ablest Inc.

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2014 Akerman Miami, FL 523 $880.00; $360.00 $535.00 $465.00: $205.00 $305.00 National Law Journal,
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2014 Alston & Bird Atlanta, GA 789, $875.00 $495.00 $675.00: $575.00. $280.00 $425.00 ‘National Law Journal,
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2014 Andrews Kurth — “Houston, TX 337, $1090.00. $745.00." $890.00. “$1090.00. $265.60 $670.00 National Law Journal,
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2014 Burr & Forman Birmingham, 261 $525.00: $300.00 $371.00: $275.00. $200.00 $241.00 National Law Journal, Full-time equivalent
AL y December 2014 (FTE) attorneys at the
; firm and the city of the
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as listed in the 2014 NLJ

350 report
2014 Butler Snow Ridgeland, 280 $335.00. $235.00 $302.00 .National Law Journal, Full-time equivalent
MS i ‘December 2014 (FTE) attorneys at the

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firm's largest U.S. office
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=), so conse nsnne «« 390,feport
“3014 Cadwalader, Wickersham & New York, 437. $1050.00 $800.00 $930.00: $750.00: $395.00 $605.00 National Law Journal, Full-time equivalent
Taft NY : December 2014 (FTE) attorneys at the
firm and the city of the
firm’s largest U.S. office
as listed in the 2014 NLJ
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2014 Carlton Fields Tampa, FL 272 $840.00 $455.00 $600.00 National Law Journal, Full-time equivalent
December 2014 (FTE) attorneys at the
firm and the city of the
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as listed in the 2014 NLJ
So nce ae S50 Epo ee
2014 Cole, Schotz, Meisel, | Hackensack, 448,” $730.00. $590.00 $653.00 $340.00. $275.00 $302.00 National Law Joumal, Full-time equivalent
Forman & Leonard NJ : December 2014 (FTE) attorneys at the
firm and the city of the
tirm’s largest U.S. office
as listed in the 2014 NLJ
350 report
2014 Connell Foley Roseland, 129 $575.00. $275.00 $425.00 $325.00: $200,00 $265.00 National Law Journal, Full-time equivalent
NJ : :December 2014 *{FTE) attorneys at the
: firm and the city of the
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350 report
2014 Cooley Palo Alto, CA 673 $990.00: $660.00 $820.00 $640.00: $335.00 $515.00 National Law Journal, Full-time equivalent
: December 2014 (FTE) attorneys at the
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2014 Govington & Burling ‘Washington, = 760. $890.00 $605.00 $780.00. $565.00’ $320.00 $415.00 ‘National Law Journal, Full-time equivalent
pc December 2014 (FTE) attorneys at the
firm and the city of the
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as listed in the 2014 NLJ
350 report
2014 Cozen O'Connor Philadelphia, 495 $1135.00: $275.00 $570.00: $640.00 $180.00 $355.00 National Law Journal, Full-time equivalent
PA : ‘December 2014 (FTE) attorneys at the
: firm and the city of the
firm’s largest U.S. office
as listed in the 2014 NLJ
350 report
2014 Curtis, Mallet-Prevost, Colt Naw York, 323 $860.00 $730.00 $800.00 $785.00: $345.00 $480.00 .National Law Journal, Full-time equivalent
& Mosle NY December 2014 (FTE) attorneys at the
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2014 Davis Graham & Stubbs Denver, CO 145 $635.00: $315.00 $435.00 $350.00: $200.00 $255.00 :National Law Journal, Full-time equivalent
December 2014 (FTE) attorneys at the
firm and the city of the

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as listed in the 2014 NLJ
350 report
2014 Bavis Polk & Wardwell New York, 810 $985.00; $850.00 $975.00. $975.00. $130.00 $615.00 National Law Journal, Full-time equivalent
NY : : : December 2014 (FTE) attorneys at the
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2014 Debevoise & Plimpton New York, 595 $1075.00 $955.00 $1055.00 $760.00: $120.00 $490.00 National Law Journal, Full-time equivalent
NY : December 2014 (FTE) attorneys at the
: : firm and the city of the
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2014 Dechert New York, 845 $1095.00 $670.00 $900.00 $735.00 $395.00 $530.00 :National Law Journal, Full-time equivalent
NY “December 2014 (FTE) attomeys at the
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2014 Dentons New York, 2503 $1050.00 $345.00 $700.00 $685.00: $210.00 $425.00 National Law Journal, Full-time equivalent
NY : :December 2014 (FTE) attorneys at the
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as listed in the 2014 NLJ
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2014 Dickstein Shapiro Washington, 254 $1250.00: $590.00 $750.00 $585.00: $310.00 $475.00 National Law Journal, Full-time equivalent
DG : December 2014 (FTE) attorneys at the
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2014‘ Dinsmore & Shohl Cincinnati, 415. $850.00: $250.00 $417.00 $365.00: $160.00 $238.00 $360.00 $150.00 $615.00 .National Law Journal, Fulltime equivalent
OH | December 2014 (FTE) attorneys at the
firm and the city of the
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ee ~ . 350 report
2014 DLA Piper New York, 3962 $1025.00 $450.00 $765.00 $750.00: $250,00 $510.00 Nationa! Law Journal, Full-time equivalent
NY December 2014 (FTE) attorneys at the
firm and the city of the
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as listed in the 2014 NLJ
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2014 Dorsey & Whitney Minneapolis, 501 $585.00. $340.00 $435.00 $510.00. $215.00 $315.00: National Law Journal, Full-time equivalent
MN ‘December 2014 (FTE) attorneys at the:
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firm's largest U.S. office
as listed in the 2014 NLJ
350 report
2014 Duane Morris Philadelphia, 613 $960.00; $415.00 $589.00: $585.00: $280.00 $373.00 $638.00 $460.00 $1015.00 National Law Journal, Full-time equivalent
PA : : :December 2014 (FTE) attorneys at the
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2014. Edwards Wildman Palmer ‘Boston, MA 540: $765.00: $210.00 $535.00 $415.00: $245.00 $325.00 :National Law Journal, Full-time equivalent
: :December 2014 (FTE) attorneys at the
firm and the city of the
firm’s largest U.S. office
as listed in the 2014 NLJ

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2014 Faegre Baker Daniels Minneapolis, 673 $580.00: $355.00 $455.00 $315.00: $110.00 $260.00 National Law Journal, Full-time equivalent
MN :December 2014 (FTE) attorneys at the

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as listed in the 2014 NLJ

I 350 report
2014 Foley & Lardner Milwaukee, 844 $860.00: $405.00 $600.00 $470.00: $210.00 $335.00: ‘National Law Journal, Full-time equivalent
Wt : : i : December 2014 (FTE) attorneys at the

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2014 Foley Hoag Beston, MA 221 $775.00: $590.00 $670.00 $385.00 $290.00 $325.00 National Law Journal, Full-time equivalent
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2014 Fox Rothschild Philadelphia, 531 $750.00: $335.00 $530.00' $500.00: $245.00 $310.00 ‘National Law Journal, Full-time equivalent

:PA ‘December 2014 (FTE) attorneys at the
: firm and the city of the

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“350 report
2014.Fried, Frank, Harris, Shriver New York, 450, $1100.00 $930.00 $1000.00: $760.00, $375.00 $595.00 :National Law Journal, Full-time equivalent
& Jacobson NY : ‘December 2014 (FTE) attorneys at the

firm and the city of the
firm's largest U.S. office
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2014: Frost Brown Todd Cincinnati, 414 $600.00: $220.00 $387.00 $315.00 $150.00 $234.00 $417.00 $350.00 $540.00 National Law Journal, Full-time equivalent
OH | December 2014 (FTE) attorneys at the

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2014 Gardere Wynne Sewell Dallas, TX 21a $775.00; $430.00 $635.00 $330.00; $290.00 $303.00 National Law Journal, Full-time equivalent
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2014 Gibbons Newark, NJ 201 $865.00 $440.00 $560.00 $475.00 $295.00 $360.00 National Law Journal, Full-time equivalent
t December 2014 (FTE) attorneys at the
firm and the city of the

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as listed in the 2014 NLJ

350 report
2014 Gibson, Dunn & Crutcher New York, 1154, $1800.00. $765.00 $980.00 $930.00, $175.00 $590.00 National Law Journal, Full-time equivalent
NY : December 2014 {FTE) attorneys at the

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2014 Gordon Rees Scully San Diego, 478 $475.00: $375.00 $420.00 $325.00. $285.00 $300.00 National Law Journal, Full-time equivalent
Mansukhani CA December 2014 (FTE) attorneys at the
firm and the city of the
firm’s largest U.S. office
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350 report
2014 Greenberg Traurig New York, 1690 $955.00: $535.00 $763.00 $570.00, $325.00 $470.00 National Law Journal, Full-time equivalent
i NY : ‘December 2014 (FTE) attorneys at the

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esse —— en : 350 report
2014 Harris Beach Rochester, “498° ~—«$400.00: $298.00. $348.00 $285.00 $175.00 $230.00 $287.50 $175.00 $400.00 National Law Journal, Full-time equivalent
NY ; “December 2014 (FTE) attorneys at the

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cuenta 350 report
2014 Harter Secrest & Emery Rochester, 132: $465.00° $300.00 $385.00 $280.00 $195.00 $250.00 National Law Journal, Full+time equivalent
NY : December 2014 (FTE) attorneys at the

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firm's largest U.S. office
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350 report
2014 Haynes and Boone Dallas, TX = 483 $1020.00: $450.00 $670.00 $580.00 $310,006 $405.00 National Law Journal, Full-time equivalent
Dacember 2014 (FTE) attorneys at the

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firm's largest U.S. office
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350 report
2014 Hogan Lovells Washington, 2313, $1000.00 $705.00 $835.00: National Law Journal, Full-time equivalent
Bc : December 2014 (FTE) attorneys at the

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firm's largest U.S. office
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P. 350 report
2014 Holland & Hart Denver, CO 423 $725.00: $305.00 $442 00 $425.00, $175.00 $277.00 $363.00 $225.00 $535.00 National Law Journal, Full-time equivalent
December 2014 (FTE) attorneys at the

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350 report
‘2014 Holland & Knight Washington, 956. $1085.00 $355.00 $625.00 $595.00 $210.00 $340.00 $575.00 $420.00 $910.00 National Law Journal, Full-time equivalent
bc December 2014 (FTE) attorneys at the

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350 report
2014 Honigman Miller Schwartz Detroit, Ml 231 $560.00 $290.00 $390.00 $225.00 $205.00 $220.00 National Law Journal, Full-time equivalent
and Cohn December 2014 (FTE) attorneys at the

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firm's largest U.S. office
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250 report
2014 Hughes Hubbard & Reed New York, 351 $995.00. $725.00 $890.00 $675.00: $365.00 $555.00 National Law Journal, Full-time equivalent
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2014 Husch Blackwell St. Louis, 539 $785.00. $250.00 $449.00 $440.00: $190.00 $275.00 $418.00 $240.00 $625.00 National Law Journal, Full-time equivalent
MO December 2014 (FTE) attorneys at the
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2014 Ice Miller Indianapolis, 291 $530.00 $335.00 $450.00 $305.00: $245.00 $270.00 National Law Journal, Full-time equivalent
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2014 Irell & Manella Los Angeles, 166 $975.00 $800.00 $890.00 $750.00: $395.00 $535.00 ‘National Law Journal, Full-time equivalent
CA H ‘December 2014 (FTE) attorneys at the

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. 350 report
2014 Jackson Kelly Charleston, 179 $535.00 $270.00 $345.00 $315.00° $200.00 $243.00 National Law Journal, Full-time equivalent

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2014 Jackson Lewis Los Angeles, 724, $440.00. $310.00 $380.00. $315.00 $275.00 $290.00 ‘National Law Journal, Full-time equivalent
CA : December 2014 (FTE) attorneys at the

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2014 Jackson Walker Dallas, TX 333 $675.00, $575.00 $622.00 $385.00 $255.00 $335.00 National Law Journal, Full-time equivalent
: December 2014 (FTE) attorneys at the

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2014:Jeffer, Mangels, Butler& Los Angeles, 125 $875.00: $560.00 $690.00 National Law Journal, Full-time equivalent
Mitchell CA December 2014 (FTE) attorneys at the

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2014 Jenner & Block Chicago, IL 434 $925.00 $565.00 $745.00 $550.00 $380.00 $465.00 National Law Journal, Full-time equivalent
:December 2014 {FTE) attorneys at the

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350 report
2014 Jones Day “New York, 2464 $975.00 $445.00 $745.00: $775.00 $205.00 $435.00 National Law Journal, Full-time equivalent
NY December 2014 (FTE) attorneys at the

firm and the city of the
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as listed in the 2014 NLJ

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2014,Jones Walker New 363 $425.00 $275.00 $385.00 $240.00 $200.00 $225.00 :National Law Journal, Full-time equivalent
Orleans, LA : : December 2014 (FTE) attomeys at the

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2014 Kasowitz, Benson, Torres New York, 372 $1195.00 $600.00 $835.00 $625.00. $200.00 $340.00 National Law Journal, Full-time equivalent
& Friedman NY December 2014 (FTE) attorneys at the
firm and the city of the
firm’s largest U.S. office
as listed in the 2014 NLJ

350 report
2014 Katten Muchin Rosenman Chicago, IL 612 $745.00: $600.00 $615.00. $595.00: $340.00 $455.00 :National Law Journal, Full-time equivalent
December 2014 (FTE) attorneys at the

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2014 Kaye Scholer New York, 392 $1250.00, $725.00 $860.00 $795.00: $370.00 $597.00 National Law Journal, Full-time equivalent
NY ‘December 2014 (FTE) attorneys at the

firm and the city of the
firm’s largest U.S. office
as listed in the 2014 NLJ

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2014 Kelley Drye & Warren New York, 293 $815.00: $435.00 $640.00 $600.00, $305.00 $430.00 National Law Journal, Full-time equivalent
NY ‘December 2014 (FTE) attorneys at the

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2014 Kilpatrick Townsend & Atlante, GA 561 $775.00, $400.00 $550.00 $475.00: $315.00 $385.00 National Law Journal, Full-time equivalent
Stockton : December 2014 (FTE) attomeys at the

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2014 King & Spalding Atlanta, GA 374 $995.00 $545.00 $775.00 $735.00: $125.00 $460.00 National Law Journal, Full-time equivalent
December 2014 (FTE) attorneys at the

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2014 Kirkland & Ellis Chicago, IL 1554 $995.00 $590.00 $825.00 $715.00: $235.00 $540.00 ‘National Law Journal, Full-time equivalent
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2014 Knobbe Martens Olson & Irvine, CA 260 $810.00. $450.00 $575.00 $455.00: $305.00 $360.00 National Law Journal, Full-time equivalent
Bear ‘December 2014 (FTE) attorneys at the

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as listed in the 2014 NLJ

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2014 Kramer Levin Naftalis & New York, 313. $1100.00 $745.00 $921.00 $815.00: $515.00 $675.00 National Law Journal, Full-time equivalent
Frankel NY December 2014 (FTE) attorneys at the

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2014 Lane Powell Seattie, WA 170 $675.00 $375.00 $516.00: $425.00: $260.00 $331.00 $477.00 $300.00 $650.00 National Law Journal, Full-time equivalent
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2014 Lathrop & Gage

2014 Lewis Roca Rothgerber

2014 Lindquist & Vennum

2014 Littler Mendelson _

2014 Lowenstein Sandler

2014 Manatt, Phelps & Phillips

“2014 McCarter & English

2014 McDermott Will & Emery

2014 McElroy, Deutsch,
Mulvaney & Carpenter

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New York,
NY

Kansas City,
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Phoenix, AZ

Minneapolis,
MN

San
Francisco,

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Los Angeles,
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; Newark, NJ

Chicago, IL

Morristown,
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2060: $1110.00; $895,00 $990.00 $725.00 $465.00 $605.00 National Law Journal, Full-time equivalent
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283 $700.00: $285.00 $420.00 $375.00 $195.00: $250.00 National Law Journal, Full-time equivalent
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228 $695.00. $380.00 $505.00 $525.00 $205.00 $400.00 National Law Journal, Full+time equivalent
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178 $600.00 $460.00 $520.00 $470.00. $275.00 $365.00 National Law Journal, Full-time equivalent
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1002 $615.00: $395.00 $550.00 $420.00, $245.00 $290.00: National Law Journal, Full-time equivalent
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261 $990.00, $600.00 $765.00 $650.00 $300.00 $450.00 National Law Journal, Full-time equivalent
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371 $625.00. $450.00 $530.00 $370.00: $220.00 $300.00 National Law Journal, Full-time equivalent
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as listed in the 2014 NLJ

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274 $560.00, $325.00 $445.00: $335.00. $200.00 $295.00 :National Law Journal, Full-time equivalent
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2014: McGuireWoods Richmond, 931 $725.00. $450.00 $595.00 $525.00; $285.00 $360.00 ‘National Law Journal, Fulltime equivalent
VA : .December 2014 (FTE) attorneys at the
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2014.McKenna Long & Aldridge Atanta, GA 518 $650.00: $480.00 $530.00 $425.00: $375.00 $395.00 National Law Journal, Full-time equivalent
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2014 Michael, Best & Friedrich Milwaukee, 189 $650.00 $235.00 $445.00 $425.00: $200.00 $283.00 ‘National Law Journal, Full-time equivalent
Wi December 2014 {FTE) attorneys at the

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a . 350 report
2014 Miles & Stockbridge Baltimare, 225 $740.00: $340.00 $478.00 $425.00. $230.00 $290.00 $419.00 $225.00 $695.00 National Law Journal, Full-time equivalent
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2014 Moore & Van Allen Charlotte, 74 $870.00, $315.00 $490.00 $430.00: $190.00 $280.00 National Law Journal, Full-time equivalent
NC : December 2014 {FTE) attorneys at the
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2014.Morgan, Lewis & Bockius Philadelphia, 1363 $765.00: $430.00 $620.00 $585.00 $270.00 $390.00 National Law Journal, Full-time equivalent
PA : : December 2014 {FTE) attorneys at the
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2014.Morris, Manning & Martin = Atlanta, GA 148 $575.00 $400.00 $480.00 : National Law Journal, Full-time equivalent
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“2014:Morrison & Foerster San 1020 $1195.00 $595.00 $865.00: $725.00, $230.00 $525.00 -National Law Journal, Full-time equivalent
Francisco, : ‘December 2014 (FTE) attorneys at the
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2014 Nelson Mullins Calumbia, 466 $800.00. $250.00 $444.00 $395.00. $215.00 $271.00 $376.00 $195.00 $600.00 National Law Journal, Full-time equivalent
sc : December 2014 (FTE) attorneys at the
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2014 Nixon Peabody Boston, MA 584 $850.00, $295.00 $520.00 $550.00: $180.00 $300.00 :National Law Journal, Futl-time equivalent
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2014 Norris McLaughlin & Bridgewater, 128 $505.00: $485.00 $495.00 $365.00. $185.00 $275.00 National Law Journal, Full-time equivalent
Marcus NJ December 2014 (FTE) attorneys at the
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2014 Norton Rose Fulbright Houston, TX 3537 $900.00. $525.00 $775.00: $515.00: $300.00 $400.00 National Law Journal, Full-time equivalent
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2014.Nossaman “Los Angeles, 148: $800.00: $370.00 $579.00: $490.00: $255.00 $340.00 $495.00 $440.00 $550.90 National Law Journal, Full-time equivalent
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2014 Nutter McClennen & Fish ‘Boston, MA 146 $715.00. $470.00 $575.00 $460.00: $295.00 $375.00 National Law Journal, Full-time equivalent
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2014 Ogletree Deakins Atlanta, GA 668 $650.00 $250.00 $360.00 ” $365.00. $200.00 $260.00 $315.00 $230.00 $555.00 National Law Journal, Full-time equivalent
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2014 O'Melveny & Myers Los Angeles, 721 $950.00, $615.00 $715.00 National Law Journal, Full-time equivalent
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2014 Orrick Herrington & New York, 954. $1095.00: $715.00 $845.00 $375.00. $710.00 $560.00 $735.00 $685.00 $850.00 National Law Journal, Full-time equivalent
Sutcliffe NY ‘December 2014 (FTE) attorneys at the
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2014 Parker Poe Adams & Charlotte, 185: $500.00: $425.00 $450.00 National Law Journal, Full-time equivalent
Bernstein NC : ;December 2014 (FTE) attorneys at the
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2014 Paul Hastings New York, B89 $900.00 $750.00 $815.00 $755.00 $335,00 $540.00 National Law Journal, Full-time equivalent
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2014 Paul, Weiss, Rifkind, New York, 854 $1120.00: $760.00 $1040.00 $735.00: $595.00 $678.00 National Law Journal, Full-time equivalent
Wharton & Garrison NY December 2014 (FTE) attorneys at the
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2014 Pepper Hamilton Philadelphia, 510 $950.00 $465.00 $645.00 $525.00: $280.00 $390.00 National Law Journal, Full-time equivalent
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2014 Perkins Coie Seattle, WA 861 $1000.00, $330.00 $615.00. $610.00 $215.00 $425.00 $635.00 $280.00 $800.00 National Law Journal, Full-time equivalent
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2014 Pillsbury Winthrop Shaw —_ Washington, 591 $1070.00: $615.00 $865.00 $860.00: $375.00 $520.00 National Law Journal, Full-time equivalent
Pittman pc i : December 2014 (FTE) attorneys at the
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2014 Polsinelli Kansas City, 616 $775.00: $325.00 $435.00. $350.00 $235.00 $279.00 $376.00 $300.00 $450.90:National Law Journal, Full-time equivalent
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2014 Proskauer Rose New York, 712 $950.00: $725.00 $880.00 $675.00 $295.00 $465.00 National Law Journal, Full-time equivalent
NY j ‘December 2014 (FTE) attorneys at the
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2014. Quarles & Brady Milwaukee, 422 $625.00. $425.00 $519.00 $600.00: $210.00 $335.00 National Law Journal, Full-time equivalent
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2014. Quinn Emanuel Urquhart & :New York, 673. $1075.00: $810.00 $915.00° $675.00: $320.00 $410.00 National Law Journal, Full-time equivalent
Sullivan NY December 2014 (FTE) attorneys at the
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"2014 Reed Smith Pittsburgh, 1555 $890.00. $605.00' = $737.00 $530.00: $295.00 $420.00 National Law Journal, Full-time equivalent
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2014 Richards, Layton & Finger Wilmington, 124: $800.00 $600.00 $678.00. $465.00: $350.00 $414.00 National Law Journal, Full-time equivalent
DE December 2014 (FTE) attorneys at the
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2014 Riker Danzig Scherer Morristown, 146 $495.00: $430.00 $455.00 $295.00 $210.00 $250.00 :National Law Journal, Full-time equivalent
Hyland & Perretti NJ : ‘December 2014 (FTE) attorneys at the
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2014 Robinson & Cole Hartford, CT 201 $700.00° $295.00 $500.00 $445.00 $215.00 $300.00 :National Law Journal, Full-time equivalent
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2014 Rutan & Tucker Costa Mesa, 147, $675.00 $345.00 $490.00. $500.0G: $230.00 $320.00 National Law Journal, Full-time equivalent
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2014 Saul Ewing :Philadelphia, 240 $875.00, $375.00 $546.00 $590.00 $225.00 $344.00 ‘National Law Joumal, Full-time equivalent
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2014 Schiff Hardin Chicago, IL 317: $415.00: $250.00 $333.00 Nationa! Law Journal, Full-time equivalent
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2014 Seward & Kissel New York, 143. $850.00 $625.00 $735.00 $600.00: $290.00 $400.00 :National Law Journal, Full-time equivalent
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2014 Seyfarth Shaw Chicago, IL 779 $860.00 $375.00 $610.00 $505.00 $225.00 $365.00 National Law Journal, Full-time equivalent
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“2014:Sheppard Mullin Richter & Los Angeles, 549 «$875.00 $490.00 $685.00 $535.00 $275.00 $415.00 -National Law Journal, Full-time equivalent
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2014 Shumaker Loop & Kendrick Toledo, OH 224 $595.00, $305.00 $413.00 $330.00: $160.00 $256.00 National Law Journal, Full-time equivalent
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2014 Shutts & Bowen Miami, FL 230 $660.00 $250.00 $430.00. $345.00: $195.00 $260.00 National Law Journal, Full-time equivalent
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2014 Skadden, Arps, Slate, New York,
Meagher & Flom NY
2014 Snell & Wilmer Phoenix, AZ
2014 Spilman Thomas & Battle Charleston,
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2014 Sterne, Kessler, Goldstein Washington,
& Fox DC

2014 Stevens & Lee Reading, PA
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2014 Strasburger & Price “Dallas, TX

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2014 White & Case New York, 1895 $1050.00. $700.00 $875.00 $1050.00: $220.00 $525.00 National Law Journal, Full-time equivalent
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2014 Wiley Rein Washington, 277, $950.00 $550.00 $665.00 $535.00: $320.00 $445.00 National Law Journal, Full-time equivalent
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2014 Williams Mullen Richmond, 233: $410.00 $360.00 $385.00° $350.00. $260.00 $295.00 -National Law Journal, Full-time equivalent
VA : December 2014 (FTE) attorneys at the
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2014 Willkie Farr & Gallagher New York, 526: $1090.00. $790.00 $950.00: $790.00 $350.00 $580.00 ‘National Law Journal, Fulltime equivalent
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2014 Wilmer Cutler Pickering Washington, “988: $1250.00: $735.00 $905.00 $695.00. $75.00 $290.00 National Law Journal, Full-time equivalent
Hale and Dorr DC : December 2014 (FTE) attorneys at the
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2014 Winston & Strawn Chicago, IL 822 $995.00. $650.00 $800.00: $590.00, $425.00 $520.00 :National Law Journal, Full-time equivalent
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2014 Wolff & Samson West 125 $450.00: $325.00 $400.00 $450.00, $225.00 $340.00 National Law Journal, Full-time equivalent
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2014 Womble Carlyle Sandridge Winston- 492, $640.00. $470.00 $554.00; .National Law Journal, Full-time equivalent
& Rice Salem, NC ‘December 2014 {FTE) attorneys at the
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2014 Wyatt Tarrant & Combs Louisville, 202 $500.00: $280.00 $418.00 National Law Journal, Full-time equivalent
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The Nations! Law Jowmal

January 13. 2014 Monday

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THE NATIONAL

TAVY JOURNAL

Section: NLI’S BILLING SURVEY; Ps. 1; Vol, 36; No. 20
Length: 1860 words
Byline: KAREN SLOAN

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As recently as five years ago, law partners charging $1,000 on hour were ovtliers. Today, four-figure hourly rates for
indemand partners at the most prestigious firms don't raise eyebrows-and a few top eamers are closing in on $2,000 an
hour

These rate increases come despite hand-wringing over price pressures from clients amid a tough economy, But everrising
standard billing rates also obscure the growing practice of discounts, falling collection rates, and slow march toward

alternative fee arrangements.

Nearly 20 percent of the firms included in The National Law Joumal’s annual Survey of large law firm billing rates this
year had at least one partner charging more than $1,000 an hour. Gibson, Dunn & Crutcher partner Theodore Olson had
the highest rate recorded in our survey, billing $1,800 per hour while representing mobile satellite service provider
LightSquared Inc. in Chapter 11 proceedings.

Of course, few law firm partners claim Olson’s star power. His rate in that case is nearly the twice the $980 per hour average
charged by Gibson Dunn partners and three times the average $604 hourly rate among partners at NLJ 350 firms, Gibson
Dunn chairman and managing partner Ken Doran said Olson’s rato is “substantially” above that of other partners at the firm,
and that the finm’s standard rates are in line with its peers.

“While the majority of Ted Olson's work is done under alternative billing arrangements, his hourly rate reflects his stature
in the legal community, the high demand for his services and the unique value that he offers to clients given his
extraordinary experience as a former solicitor gencral of the United States who has argued more than 60 cases before the
U.S. Supreme Court and has counseled several presidents,” Doran said.

In reviewing billing data this year, we took a new approach, asking each finn on the NLJ 350-our survey of the nation’s
350 largest firms by attormey headcount-to provide their highest, lowest and average billing rates for associates and
partners, We supplemented those data through public records. All together, this year’s survey includes information for 159
of the country's largest law firms and reflects billing rates as of October.

The figures show that, even in a down economy, hiring a large law finn remains a pricey prospect, The median among the
highest partner billing rates reported st ¢ach firm is $775 an hour, while the median low partner raic is $405, For associates,
the median high stands at. $510 and the low at $235. The average associate rate is $370.

Multiple industry studies show that law finn billing rates continued to climb during 2013 despite efforts by corporate
counsel to rein them in. TyMetrix’s 2013 Rea! Rato Report Snapshot found that the average law firm billing rate increased
by 4.8 percent compared with 2012. Similarly, the Center for the Study of the Legal Profession at the Georgetown
University Law Center and Thomson Reuters Peer Monitor found that law firms increased their rates by an average 3.5

percent during 2013,
Richard Peart
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$1,G00 Per Hour Isn’t Rare Anymore; Nominal billing levels rise, but discounts ease blow.

Of course, rates charged by firms on paper don’t necessarily reflect what clients actually pay. Billing realization rates-which
reflect the percentage of work billed at firms’ standard rates- have fallen from 89 percent in 2010 to nearly 87 percent in
2013 on average, according to the Georgetown study, When accounting for billed hours actually collected by firms, the

realization rate falls to 83.5 percent.

“What this means, of course, is that- on average-law firms are collecting only 83.5 cents for every $1.00 of standard time
they record,” the Georgetown report reads, "To understand the fall impact, one need only consider that at the end of 2007,
the collected realization rate was at the 92 percent level.”

in other words, law firms set rates with the understanding that they aren't likely to colfect the full amount, said Mark
Medice, who oversees the Peer Monitor Index. That index gauges the strength of the legal market according to economic
indicators including demand for legal services, productivity, rates and expenses. “Firms start out with the idea of, "I want
to achieve a certain rate, but it’s likely that my client will ask for discounts whether or not I increase my rate,’” Medice

said,

Indeed, firms bill nearly all hourly work at discounts ranging from 5 percent to 20 percent off standard rates, said Peter
Zeughauser, a consultant with the Zeughavger Group. Discounts can run as high as 50 percent for matters billed under a
hybrid system, wherein a law firm can eam a premium for keeping costs under a set level or for obtaining a certain
outcome, he added. “Most firms have gone to a two-tier system, with what is essentially an aspirational rate that they
occasionally get and a lower rate that they actually budget for,” he said.

Most of the discounting happens at the front end, when firms and clients negotiate rates, Medice said. But additional
discounting happens at the billing and collections stages. Handling altemative fee arrangements and discounts bas become
so complex that more than half of the Jaw firms on the Am Law 100-NLJ affiliate The American Lawyer's ranking of firms
by grosa revenue-have created new positions for pricing directors, Zeughauser said.

THE ROLE OF GEOGRAPHY

Unsurprisingly, rates vary by location. Firms with their largest office m New York had the highest average partner and
associate billing rates, at $882 and $520, respectively. Similarly, TyMetrix has reported that more than 25 percent of
partners nt large New York firms charge $1,000 per hour or more for contracts and commercial work.

Washington was the next priciest city on our survey, with partners charging an average $748 and associates $429, Partners
charge an average $691 in Chicago and associates $427. In Los Angeles, partners charge an average $665 while the average
associate rate is $401,

Pricing also depends heavily on practice area, Zeughauser and Medice said, Bet-the-company patent litigation and
white-collar litigation largely remain at premium prices, while practices including labor and employment have come under
huge pressure to reduce prices.

“If there waa a way for law firms to hold rates, they would do it. They recognize how sensitive clients are to price
increases,” Zeughauser said. But declining profit margins-due in part to higher technology costs and the expensive lateral
hiring market-mean that firms simply lack the option to keep rates flat, he said.

BILLING SURVEY METHODOLOGY

The National Law Journal’s survey of billing rates of the largest U.S, law firms provides the high, low and average rates
for partners and -associates.

The NLJ asked respondents to its annual survey of the nation’s largest law firms (the NLJ 350) to provide a range of hourly
billing rates for partners and associates as of October 2013.

For firme that did not supply data to us, in many cases we were able to supplement billing-rate data derived from public
records.

In total,. wo have rates for 159 of the nation’s 350 largest firms.
. Richard Pearl
Case 4:07-cv-05944-JST Document 4071-16 Filed 09/23/15 Page 33 of 95

Page 3 of 5
$1,000 Per Hour Isn’t Rare Anymore; Nominal billing levels rise, bet discounts ease blow.

Rates data include averages, highs and low rates for partners and associates, Information also includes the average full-time
equivalent (FTE) attomeys at the firm and the city of the firm's ptincipal or largest office.

We used these data to calculate averages for the nation as a whole and for selected cities.
Billing Rates at the Country's Priciest Law Firms

Here are the 50 firms that charge the highest average hourly rates for partners.
Billing Rates at the Country’s Priciest Law Firms

FIRM NAME LARGESTAVERAGE PARTNERASSOCIATE
DUS. FULL-TIME HOURLY HOURLY
OFFICE” EQUIVALENT RATES RATES
ATTORNEYS”

AVERAGHTIGH LOWAVERAGHTIGH LOW
* Full-time equivalent stiomey numbers and the largest U.S. office are from the NLI 350 published in April

2013. For complete mmmbers, please see WiS.com,
** Firm did not exist in this form for the entire year.

Debevoise & New 615 $1,055 $1,075 $955 $490 $760 $120

Ptimpton York

Paul, Weiss, Rifkind, New 803 $1,040 $1,120 $760 $600 $760 = $250

‘Wharton & Garrison York

Skadden, Arps, New 1,735 $1,035 = $1,150 $845 $620 $85 = $340

Slate, Meagher & = York

Flom

Fried, Frank, Harris, New 476 $1,000 «$1,100 + $930 $595 $750 0 $375

Shriver & Jacobson York

Latham & Watkins New 2,033 $960 $1,110 $895 $605 $725 = $465
York

Gibson, Dunn & New 1,086 $980 $1800 $765 $590 $9300 $175

Crotcher York

Davis Polk & New 787 $975 $985 $850 $615 $975 $130

Wardwell York

‘Willkie Farr & New 540 $950 $1,090 $790 £580 $780 = $350

Gallagher York

Cadwalader, New 435 $930 51,050 $800 $605 $750 = $395

Wickersham & Taft York

Weil, Gotshal & New 1,201 $930 $1,075 $625 $600 $750 = $300

Manges York

Quinn Emenovel New 697 $915 $1,075 §810 $410 $675 = $320

Urquhart & Sullivan York

‘Wilmer Cuter Washington961 $905 $1,250 $735 $290 $695 «$75

Pickering Hale and

Dorr :

Dechect New 303 $900 $1,095 $670 $530 $735 $395
York

Andrews Kurth Houston 348 $890 $1,090 S745 $528 $785 $265

Rugkes Hubbard & New 344 $890 $995 $725 $555 $675 $365

Reed York

Incl & Manella Loz 164 $890 $975 $800 $535 $750 $395
Angeles

Proskauer Rose New 746 $880 $950 $725 $465 $675 = $295
York

White & Case New 1,500 3875 $1,050 $700 $525 $1,050 $220
York

Richard Pearl
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Page 4 of 5
$1,000 Per Hour Isn't Rare Anymore; Nominal billing levels rise, but discounts ease blow.
FIRM NAME LARGESTAVERAGE PARTNERASSOCIATE
US. FULL-TIME HOURLY HOURLY
GOFRICK’ EQUIVALENT RATES RATES
ATTORNEYS"
AVERAGIRIGH LOW AVERAGEHIGH LOW
Morrison & Foerster San 1,030 $365 $1,195 $595 $525 $725 $230
Francisco
Pillebory Winthrop  Washingtons09 $865 £1,070 $615 $520 $860 $375
Shaw Pittman
Kaye Schoier New 414 $860 $1,680 $715 $510 $680 $320
York
Kremer Lovin New 320 $345 $1,025 $740 $590 $750 $400
Naftalis & Frankel York
Hogan Lovells Washington2,280 $835 $1,000 $705 = - -
Kasowitz, Benson, New 365 $835 $1,195 $600 $340 $625 $200
Tones & Friedman York
Kirkland & Ellis Chicago 1,517 $825 $995 $590 $540 $715 $235
Coakley Palo Alto 632 $820 $990 $660 $525 $630 $160
Amoid & Porter Washington74§ $815 $950 $670 $500 $610 $345
Paul Hastings New 899 $815 $s00 $750 $440 $755 $335
York
Curtia, New 322 $800 $2860 $730 $480 $785 $345
Mallet-Prevost, Colt York
& Mosle
Winston & Strawn Chicago 842 $800 $995 $650 $520 $590 $425
Bingham McCutchen Boston 900 $795 $1,080 $220 $450 $605 $185
Akin Gump Strauss  Washingtar806 $785 $1,220 $615 $525 $660 0 $365
Hauer & Feld
Covington & Washingion738 $780 $890 $605 8415 $565 $320
Burling
King & Spalding Atlanta 838 $775 5995 $545 $460 $735 $125
Norton Rose NYA" NIA" $775 $900 $525 $400 $515 $300
Bulbright
DLA Piper New 4,036 $765 $1,025 3450 $510 $750 $250
York
Bracewell & Houston 432 $760 $1,125 $575 $440 $700 = $275
Giuliani
Baker & McKenzie Chicago 4,004 $755 $1,130 $260 $395 $925. $100
Dickstein Shapira  Washingtor308 $750 $1,250 = $590 $475 $585 $310
Jenner & Block Chicago 432 $745 $925 $565 $465 $550 $380
Jones Day New 2,363 S745 $975 $445 $435 $775 $205
York
Manet, Phelps & Los 325 $740 $795 3640 - - -
Phillips Angeles
Seward & Kissel New 152 $735 $850 $625 $400 $600 $290
York
O'Melveny & Myers Los 7ak $715 $950 S615 -
Angeles
McDermott Will & Chicago 1,024 $710 $835 $525 - - -
Emery
Reed Smith Pittshurgh 1,468 $710 $945 $545 $420 $530 £295
Déntons NYA“ ON/A** $700 $1,050 $345 $425 $685 $210
Jeffer Mangels © Los 126 3690 $875 $560 ~ = :
Butler & Mitchs!] © Angeles
Sheppard, Mullin, Los $21 $685 $875 $490 $415 $535 «$275

Richard Pear
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$1,000 Per Hour Isn’t Rare Anymore; Nominal billing levels rise, but discounts ease blow.

FIRM NAME LARGESTAVERAGE
US. FULL-TIME
OFFICE” EQUIVALENT
ATTORNEYS’
Richter & Hampton Angeles
Alston & Bird Atlanta 805
THE FOUR-FIGURE CLUB

Thess 10 firms posted the highest partner billing rates,
Gibson, Dunn & Crutcher
Dicksteln Shapiro

Wilmer Cutler Pickering Hale and Dorr

Akin Gump Strauss Haver & Feld

Kasowitz, Benson, Torres & Friedman

Morison & Foerster

Skadden, Arps, Slate, Meagher & Flom

Baker & McKenzie
Bracewell & Giuliani

Paul, Weiss, Rifkind, Wharton & Garrison

Contact Karen Sloan at ksloan@alm.com

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PRACTICE (39%); LAW FIRM BILLABLE HOURS
(78%); ECONOMIC CONDITIONS (76%); CORPORATE
COUNSEL (73%); US CHAPTER 11 BANKRUPTCY
(73%); LAW COURTS & ‘TRIBUNALS (68%);

PARTNERASSOCIATE
HOURLY HOURLY
RATES RATES

AVERAGHXIGH LOW AVERAGHIIGH LOW
$575 $280

THE FOUR-FIGURE CLUB

$675 $875 $495 $425

$1,800
$1,250
$1,250
$1,220
$1,195
$1,195
$1,150
$1,150
$1,125
$1,129

SATELLITE TECHNOLOGY (67%); SUPREME COURTS
(63%)

Company: GIBSON DUNN & CRUTCHER LLP (93%);
LIGHTSQUARED INC (83%)

Industry: NAICS541110 OFFICES OF LAWYERS (93%);
SIC8111 LEGAL SERVICES (93%); NAICS5I7410
SATELLITE #TELECOMMUNICATIONS (83%);
NAICS334220 RADIO & TELEVISION
BROADCASTING & WIRELESS COMMUNICATIONS
EQUIPMENT MANUFACTURING (83%)

Geographic: UNITED STATES (92%)

Load-Date: January 13, 2014

Richard Pearl
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Real Rate
Report®

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2013 Reai Rate Report Snapshot 14

Section I: High-Level Data Cuts (Continued)

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Louieville-KY Partner 55 $290.00 $345.00 $385.85 $338.66 $322.96 $319.83
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Partner 15 $390.00 $410.00 $490.00 $441.82 $382.87 $393.77
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2013 Real Rate Report Snapshot 15

Section I: High-Level Data Cuts (Continued)

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To Partner B4 $389.58 1.947869 $58653 $48257 $48410 $463.23
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. Partner 35 $285.00 } $375.00 | $48500 $413.34 $41619 $354.77
Sacramento, CA . - . an 2 A - =,
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Salt Lake City, UT . a= . . = . -
associate 65 817500 %222.0G 528500 T28658 82624 425502
Partner 3 $250.00 $300.00 $382.50 $347.48 $333.28 $293.09
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San Francisco, CA - - : oe i 7g
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San Jose, CA . _ Sees ee 7 rane
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7 an, BE Associate 44 $184.98 $14202 $IG494 $4984 W687 4159.08

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Law Firms Raise Rates, but Ease Blow With Discounts - WSJ.com Page 1 of 4

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LAW} April 8, 2013, 440 p.m. ET
On Sale: The $1,150-Per-Hour Lawyer
Lawyer Fees Keep Growing, But Don't Believe Them. Clients Are Dananding, and Getting,
Discounts
! f q
Articte i Video i Stack Quotes || Coratrmorits (39) | MORE Ie LAW»

By JENNIFER SMITH
Top partners al leading U.S. law firms are charging more than ever before, yet
(those hourly rates aren't all {hey appear to be.

Having blown past the once-shocklng |
price tag of $1,000 an hour, some |
sought-afler deal, 1ax and tral lawyers
are commanding hourly fees of $1,150
or more, according to an analysis of i
baling rates compilad from public filings.

Knobbe|Martens

Top partners at fonding U8. law forme ere charging ut, as law firms boost their standard
TT einen Gees oe rates, many a7e softening ihe blow with
telos went all they appear ta be, Jennifer Smith widespread discounts and write-offs,
reporta. Photo: Getty images. Meaning fewer cilents are paying full
freight. As a result, law firms on
average are actually collecting fewer canis on the dollar, compared with thelr

standard, or “rack,” rates, than they have In years.

Think of hourly fees "as the equivalent of a sticker on the car at a dealership," sald
legal consudtant Ward Bower, a principal ai Allman Vyeil Inc. "I's the beginning of a
nagotiation....Law firms ihink they ara selfing ihe rates, but clients are the ones
determining what they're gaing to pay."

Mousberg on Apple's Shark Bats Sluok in Flee elke.

Star tawyers still can fateh a premium,

New LPhon Wild Hew Phot Atvunptions About
and some of (hem won't budge on = 7 a The Riel a
price. Tha nurnbec of pariners billing
$1,150-plus an hour has more than More In Law

doubled since this time last year,

according to Valeo Partners, a Chinu's Beby-Milk lames are Aneie

consulting finn that maintains a

database of legal rates pulled om Popular Now what Thi?
court filings and olher publicly disclosed Where Job ae Hy
information. More than 320 lawyers in Growth Is Coming &

[ina tint in the fitst quarter of 2013, up from 158 a year
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Law Firms Raise Rates, but Ease Blow With Discounts - WSJ.com Page 2 of 4
That gilded circle includes tax experts such as Christopher Roman of King & Stepa to Better
Spakiing LLP and Tedd Maynes of Kirkland & Ellis LLP, Intellsctual-proparty partner Foot Health
Nader A. Mousavi of Sullivan & Cromwell LLP, and deel lawyers such as Kenneth
M. Schnelder of Paul, Weiss, Rifkind, Wharton & Garrison LLP. cee ete eee wate

8 Opinion: The
Those lawyers and their firms either declined to comment or didn't Teply to requests Power of 218
for comment
When comorate legal departments need a trusted hand fo fend off a hostile ova
taksover or win a criical court battle, few general counsels will nitpick over whether 77". a “
& key lawyer ts charging $800 an hour or $1,150 an hour. But for legal matiors & Shooting Ga of
where thelr fulure isn't on the Ine, companies are pushing for—and u

winnlng—significant price breaks,

“We aimost always negotiate ratas down from the rack rates," sald Randal S. Mich,

general counsel for phone giant Verizon Gommumications inc, The 5

result, he said, Is a "not-insignificant discaunt,”

For the bread-ang-butter work that many big law firme refy on, haggling has become
the norm. Many cllenis grew accustomed to pushing back on price during the “
recession and continue to demand discounts. j

Some companies inalst on budgets for thelr legal work, Ifa firm billing by the hour
oxceads & sat cap, lawyers may have to write off some of that time.

Other cllants refuse to work with firms who don't discount, lopping anywhere from
10% to 30% aff their standard rates. Some may grant rata increases fo individual
partners or associates they deem worthy, Another tactic: lacking in prices with
tallored mulliyear agreements with formulas governing whether clients grant or
rafuse a requested rate increase,

In practical terms, that means the gap between law firme’ sticker prices and the
amount of money they actually bill and collect from thelr clients Is wider than it has
been in years.

According to data collected by Thomson Reuters Peer Monitor, big law fins raised
thelr average standard rate by about 0.3% over the past three years, But they

weren't abie to keep up on the collection side, where the Increase over the same

perlad was just 6%. Finme that used to collect on average about $2 cents for every Press Roleaas Marketing
dallar of standard time their lawyers worked in 2007, before the economle dawntum, Elfoctive Afordetie Distribution. Attract New Gllente Naw. Loam

fov are getting leas than 85 cents. "That's 2 historic low,” sald James Jones, a publicity.24-7prassretease.com?
senior fellow af the Center for the Study of the Legal Profession at Georgetown SUPER PG Multipte Monitor
Law, The Criginal jardige Storal Buy Multi-Screan Computers &
Www, MuRHMonlora.com
To be sure, things have cartalnly picked up some slnce the recession, when some
clients flat-out refused 1o pay rate Increases. inprave Neteorh sritasteucture Exper] Advice & Industry Trands,
lechlargel. conv elwork-Gtructur a

In the first quarter of 2013, the 50 top-grossing U.S. law firms boosted their partner
rates by aa much as 5.7%, billing on average betwoan $878 and $862 an hour,
according to Valeo Partners. Rates for Junior lawyers, whose labors have lang been
a profit engine for major law firms, Jumpad aven more.

While some clients resisted using associate lawyers during the downtum, refusing is
oon

to pay hundreds of dollars an hour for inexperienced first- or second-year attomeys, we + Set

the largast U.S. law finns have managed io send the needle back up again. This Seraommaa. 5

year, for the first time, ihe average rate for assoclates with one to four years of cade va Spin an = Palle al ce

experience rose, te $500 sh, hour, according to Valeo. Puertorriquifie ‘> * “Pleorders Na More
i = Pat He

The Increasea continue the upward trend of 2012, when legal fees in general rosa
4.8% and associate bifiing rates rose by 7.4%, according to a Gaming report by

TyMatrix Legal Analytics, @ unit of Wolters Kiuwer, [ WKLAk +0.95% ]and CEB, a

research and advisory-services company. Those numbers are based on Iagal-
spending data from more than 17,006 faw firms,

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Law Firms Raise Rates, but Ease Blow With Discounts - WSJ.com Page 3 of 4

Mare than a dozen leaders af major law firms dacined to discuss rate increases on
the record, though some said privately that the increase in associate rates could be
caused in part by step Incraases ae junior lawyers gain in seniority,

Joe Sims, an antiirust partner at Jones Day and former mamber of the firm's
partnership cammittee, sald cllents dan't mind paying for associates, as long as
they fest they ara getting their monay’s worth,

Sophisticated cliants, he said, tand to focus on the overall prica tag for legaf work,
not on individual rates. “They are more concemed about how many people are
working on the project and the total cost of the project,” Mr. Sims said, "Cltents want
valua no matter who Is on the job."

While a handful of elite lawyers have successfully staked out the high end—the deal
teams at Wachteli, Linton, Rosen & Kalz, for example—legal experts say that cllent
préessuré to control legal Spending means most law firms must be considerably
more fiexibla on price.

“There will always be soma ‘bet the campany' problem where a client will not
quibble. about: rates,’ said Mr. Jones, tha Georgetown falfow. "Unfortunately, from
the law firms' standpoint, that raprasenis a small percentage of the work.”

Write to Jennifer Smith at iannifansmith@wsi.com
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Law Firms Raise Rates, but Ease Blow With Discounts - WSJ.com Page 4 of 4
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Journ’.

Associate
billing rates
start climbing
again

Average rates going

back up after stagnation
brought on by recession

By Kevin Lee
Daily Journat Staff Writer

Average law firm billing rates are back on
the rise after stagnating somewhat in the
years following the 2008 financial crisis, But
most of the action is taking place in associate
billing rates, which jumped 7.5 percent in the
first half ofthe year corapared to the same pe-
Tiod in 2011, more than twice the average rate
increase in partner billing rates nationwide.

Industry experts say the discrepancy ap-
pears to be the market correcting itself after
firms sloughed off associates and froze asso-
ciate hiring in 2009 and 2010.

Partner billing rates, by comparison, rose
3.4 percent in the first half of the year com-
pared to the year-earlier period, according to
the latest research by Valeo Partners LLC, a
Washington D.C.-based consulting firm.

Valeo compiled data on the billing rates of
lawyers at 550 U.S. law firms through publicly
available documents, such as court filings,
tee applications and disclosure statements
submitted to federal agencies.

Chuck Chandler, a Valeo co-founder and
partuer, said this year's rate increases were
instituted te offset the lack of rate movement
during the recession,

“The associates took the hit after 2008.
Some firms laid off as much as 10 percent of
their associates, delayed hiring new classes
and froze compensation,” he said, “Naturally,
billing rates were siow fo increase-during that
periog,”

For the first six months of this year, Califor
aia markets all saw associate rate increases
below the national avétage. Associates in San
Francisco and Silicon Valley together claimed
the highest average rate increase of.the Cali-
fornia markets — 7.3 percent.  - te

“Northern California has all of the social
media, the technology companies, which
creates a lot of dealmaking and IPOs and also
good fees and hourly rates,” Chandler said.

By comparison, Los Angeles associates saw
their rates go up an average of 6.6-percent. In

San Diego, associate rates rose 4,2 percent.

SF Del

Law firms generally increase billing rates
éach year, according to Sheppard, Mullin,
Richter & Hampton LLP partner Marc A.
Sockol, who manages the firm’s Palo Alto
atfies

“If inflation goes up 3 percent, so do our
associate billing rates, because that is what
covers rent, lights, computers, telephones,
desks,” Sockol said. “During those first
couple years of this recession, we chose not to

See Page 5 — ASSOCIATE

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Average Law Firm Billing Rates

Location

Position

Percent increase

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Partner

Associate

foo Partner™

National

Partner

$750

$725

3.4%

Associate

$495

$460

7.5%

Cantinued from page 1

boost our billing rates.”

Sockel declined to provide spe-
cific billing rates but said the firm
varies its associate rates by practice
group and geography. For 2012, the
firm raised associate billing rates
roughly 3 percent, he said.

James G. Leipald, executive di-
rector of the Nationa] Association
for Law Placement in Washington
D.C., said the jump in billing rates
results from the everall decrease of
associates at law firms, especially
at large law firms. Large law firms,
which are the biggest employers of
junior lawyers, are relying less on
partnership-track associates and
more on staff lawyers, paralegals
and contract lawyers.

NALP data reveals that from 2008
to 2011, large law firms on average
hired entry-level associates at an

Source: Valeo 2012 Halftime Report

Associate billing rates going up

annual starting salary of $160,000.
Some law firms cut their starting
salaries to $145,000 during that
time but not many. Leipold said he
thought more firms would follow
suit.

‘if inflation goes up

3 percent, so do our
associate billing rates,
because that is what covers
rent, lights, computers,
telephones, desks.’

~~ Mare A. Sockol

"What we saw was that law firms
reduced their associate class sizes
dramatically, but they didn’t reduce
their pay,” Leipold said. “They just

provided many fewer jobs.”

Some large firms have turned to
creating nonpartnership-track staff
lawyer positions for new classes of
junior lawyers, whose billing rates
and compensation are lower than
those of partnership-irack associ-
ates.

Law firms can then maintain or in-
crease the billing rates for the smal]
number of associates on the partner-
ship track, knowing they can turn
to their staff lawyers, paralegals or
contract lawyers to drive down the
cost of legal services for clients.

“T think you'll see that [approach]
more it the next couple of years,”
Leipold said. “It's another way for
them to bring the sajary structure
back down and meet the cost-con-
tainment demands of clients and use
people more efficiently.”

kevin_lee@dailyournal.com

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When Jt Comes to Billing, Latest Rate Report Showa the Rich Keep Getting Richer
Posted by Sara Randazzo 7
Hourly rates fist keep rising—and the best-paid lawyers are raising their rates faster than everyane else.

Those are two of the key findings contained in the 2012 Real Rate Report, an analysis of $7.6 billion in legal bills pad by corporations over a five-year
period ending in December 2011. The report, released Monday, is the second such collaboration between TyMetrix, a comparry that manages and audita

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When It Comes to Billing, Latest Rate Report Shows the Rich Keep Ge... bttp://amlawdailytypepad,com/amlawdaily/20 12/04/report-rates-kee...

iegal bills for corporate legal departments, and the Corporate Executive Board.

Many of the new rate report's findings echo those contained in the 2010 stidy, including the fact that rates keep going up, almost across the board, and
that the cost of a piven matter can vaty dramatically depending on 2 law firm's size and location and its Telationiship with a particular client.

At the same time, this year’s study shows that the legal sector is becoming incrensingly bifurcated, with top firms raising retes faster than those at the
bottom of the market and large firms charging a preminm. price based purely on their size.

"What it’s really showing ie that there's an increased premium being paid for experience and expertise," says Julis Peck, vice president of strategy and
een at TyMetrix. “Some parts of the lawyer market are able to raise rates much more quickly, and are more impervious to ecanamic
forces then others.” -- --- -- .

To compile the current rate report, TyMetrix received permission from its clienis to examine legal fees billed to 62 companies across 17 industries
including energy, finance, retail, technology, insurance, and health care. The billa, which Teprestut the amount actually paid by the companies in question
rather than the amount initially charged, came from more than 4,090 firms in 84 mciropolitan areas around the country. Every firm on the 2011 Am Law

100 is represented in the data,
The report's key data polats include:

A Widening Gap: Hourly rates charged by lawyers in the legal sector's upper echelon grew faster between 2009 and 2011 then those charged by
lawyers toiling on the lower rungs. Particularly striciap was the jump in associate rates billed by those falling in the report's top quartile: 18 percent on
average, to just over $600 per hour. Rates billed by top quartile partners, meanwhile, rose: percent, to just under $900 per hour. in the bottom quartile,
associate rates rose 4 Percent gad Partner rates rose 3 percent during the same period. .

The Recession's (Minor) Toll: Even amid the economic downtum, the cost of an hour ofa lawyer's time continued to rise faster than key measures of
inflation. That said, the legal Industry wasn't completely immune to the broader economy's slowdown, After rising 8.2 percent between 2007 and 2008,
honrly rates rose just 2.3 percent in 2009. Law firms bounced back a bit last year, with rates climbing 5.1 percent, to an average of $530 an hour,

Location Countst Not surprisingly, lawyers working in major metropolitan areas—where, ag the rate report notes, rents are typically higher—are the
priciest. An addresa in Boston, Chicago, Los Angeles, San Francisco, or Washington, D.C,, slone adds about $161 to the hounly vate charged by an
individual lawyer. Those six cities and Baltimore, Houston, Philadelphia, and Sam Jose are the ten U.S. markets with the highest hourly rates, With an
average partner rate topping $700 perhour and average associate rate oF more than $450 per hour, New York is the most expensive market in the
country. The least expensive? Riverside, California, where the average partner bills at under £250 per hour and agsaciates bill at just over $300 an hour,

Tn the Minority: A smail group of lawyers—12 percent—bucked the trend toward higher fees and actually lowered rates between 2009 to 2011—and
3 percent trimmed rates by $50 or hore per hour. (Most of those in the rate-curting camp were based outaide the big six markets identified above.) At
the other end ofthe spectrum, 52 percent of lawyers increased rates by between $25 and $200 or more per hour, Another 18 percent increased rates by
less than $25 per hour, and the final 18 percent held rates steady.

First-Year Blaes; Even botore the recession hit, clients balked at paying for what they considered on-the-job training for first-year associates, The latest
sate report is Ukely to reinforce that reluctance, given its finding that using entry-levet jewyers adds as much as 20 percent to the cost of'a legal matter.
The report offers evidence that firms may be accommodating clients on this front: The percentage of bills attributed to entry-level associates dropped

from 7 percent in. 2009 to 2.9 percent last year.
Tics That Bind: The more work one firm handles for a client—and the longer the client relationship extends—the higher the average rete the firm

charges. For companies that paid one firm $10 million or more in a sinale year, the average hourly rate paid was $553 in 2011. By comparison, clionts
that limited theit spending on an individual firm to $500,000 paid that firm an average of $319 perhow.

Four-Digit Froniler: Data bas consistently shown that many lawyers hesitate to charge more than $1,000 an hour, and in 2011 just under 3 percent of
the lawyers covered by the rate report had broken that barrier. Of those, the vast majority were working in the six main legal markets identified above
and 60 percent of the tims, they billed in increments of one hour or less.

Playing Favorites: Across all practice areas, 90 percent af lawyers charged different clients different rates for similar typas of work (The figure for
mergers anid acquisitions lawyers was. 100 percent.) The differences from client to client cau be extreme, and were even more pronounced in the curtent
report than in the 2010 edition. Rates charged by intellectual property specialists, for instance, had a median variance of 23.1 percent, while lawyers
doing commercial and contract work shoved a 18.7 percent mnedian difference.

Who's Doing What? A closer look at law firm bills for work performed on litigation and intelicctuul property assignments shows that the kind of

timekeeper billing on a matter varies by practice type. On patent matters, the report shows, 47 percent of hours billed on overage are attributed to
paralegals, and 37 percent by partners. By comparison, paralegals account for just 8 percent of the work dore on labor and employment litigation hours,

while partners handle 45 percent.
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May 2009

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California Rate Report

PROFESSIONAL FIRM GRADUATEO AOMITTED STATE RATE HOURS TOTAL
P_ Kelly, Jr, Danial Davis Polk & Wardwell (CA) 1986 1986 CA $ 960.00 4.50 4,320.00
P Cowles, Julla Davis Polk & Wardwell (CA) 1990 1990 CA 955.00 17.00 16,235.00
P__Ounham, Scott O’Malvany & Myers LLP (CA) 1975 1975 CA 850.00 1.10 946.00
P_ Tuchlin, Michael Kise, Tuchin, Bogdanoff & Stem, LLP 1990 1990 CA 350.00 9.50 425.00
P_ Gallack, Karen Weil, Gotshal & Manges LLP (CA) 1986 1986 CA 799.00 0.80 639.20
P_ Arnold, Dennis Gibson Ounn & Crutcher, LLP (CA) 1975 1976 CA 790.00 4.50 3,555.00
OC Moris, Michael Hennigan Bennett & Dorman LLP 1979 1979 CA 760.00 65.20 49.552.00
P_Avarsch, Craig White & Case LLP (CA) 1984 1984 CA 750.00 128.10 96.075.00
P_Kharasch, Ira D. Pachulski Stang Zighl Young Jones & Waintraub (CA) 1982 1982 CA 750.00 2.90 2,175.00
6 Kornfeld, Alan Pachulski Stang Zieh! Young Janes & Weintraub (CA) 1987 1987 CA 725.00 0.80 580.00
A_Lamb, Peter Davis Polk & Wardwell {CA) 2005 2005 CA 680,00 101.40 68,952.00
P_Irving, Jeanne E. Hennigan Bennett & Dorman LLP 1978 1978 CA 650.00 10.10 6,868.00
P_Kevane, Henry Pachulsk) Stang Ziahl Young Jones & Walntraub (CA) 1985 1986 CA 875.00 19.10 12,892.50
A_Gorslch, Ronald While & Case LLP (CA) 2001 2001 CA 665.00 176.20 117,173.00
P_ Browa, Kenneth H, Pachulskl Stang Ziehl Youna Jones & Weintraub (CA) 1977 1981 CA 650.00 27.30 17.745.00
P_ Fidler, Qavid Klee. Tuchin, Boqdanaff & Stern, LLP 1997 1998 CA 650.00 23.10 18,015.00
F_ Welssmann, Menry Munaer Tollas & Olson LLC . 1987 19B7 CA 650.00 0.50 325.00
P_ Bertenthal, Oavid M. Pachuiski Stang Ziehl Young Jones & Weintraub (CA) 1989 1993 CA 645.00 35.60 22,962.00
P_ Montgomery, Cromwell Gibson Dunn & Crutcher. LLP (CA) 1997 1997 CA 635.00 0.80 $08.00
P_ Brown, Dennis Munger Tolles & Ol50n LLC 1970 1970 CA 625.00 17,80 11.125.00
A_Nowman, Samuel Gibson Dunn & Cruicher, LLP (CA) 2001 2001 CA 810.00 13,50 §.235,00
A_Delrahimn, Shiva White & Case LLP (CA) 2003 2003 CA 600.00 183.70 110,220.00
P__ Vincent, Garth Munger Tollas & Olson LLC 1988 1988 CA 600.00 124,60 74,760.00
A_ Scott, Melania White & Case LLP (CA) 2004 2004 CA 600.00 20.90 12,540.00
P_ Buchanan. Laura Klea, Tuchin, Boqdanatt & Siam, LLP 4991 1991 CA 590.00 0.20 118.00
A_Ger Kwang-chien, 8. Wail, Gotshal & Manges LLP (Ca) 2003 2003 CA 580.00 28.50 16,530.00
A_Eadal, David Gibson Dunn & Crutcher, LLP (CA) 2003 2003 CA 570.00 2.90 1,653.00
P_ Halntz, Jeffrey Munger Tolles & Olson LLC 1984 1984 CA 350.00 95.10 19.305.00
P_ Fried, Jashua Pachulski Stang Zlehl Young Jones & Waintraub (CA) 1995 1995 CA 535.00 21.40 11,449.00
P_ Rutten, James Munger Tolles & Olson LLC 1997 1997 CA $25.00 25.50 13,545.00
A_Morse, Joshua Hennigan Bannett & Derman LLP 2900 2000 CA 505.00 13.10 6,615.50
A_Malatic, Michael Weil, Gotshal & Manges LLP (CA) 2005 2005 CA §00.00 36.50 18,250.00
A_Barshoo, Malissa Gibson Dunn & Crutcher, LLP (CA) 2006 2006 CA 470.00 14.00 6,580.00
A_ Liu, Lestia Weil, Goishal & Manges LLP (CA) 2006 2006 CA 465.00 45.90 21,343.50
A_ Kaufman, Oerek Munger Tollas & Olson LLC 2005 2005 CA 450.00 508.30 228,735.00
A_Hochleutner, Brian Munger Tolles & Olson LLC 2002 2002 CA 435.00 0.30 130.50
A_Nathan, Joseph Well, Gotshal & Manaps LLP (CA) 2007 2007 CA 415.00 25.20 10,458.00
A_Jasper, M. Lance Munger Tollas & Olson LLC 2006 2006 CA 400.00 96.20 38.480.00
A_Eskandari, Barney Munger Tolles & Olson LLC 2006 2006 CA 400.00 8.80 3,520.00
A_ Rubin, Erendira E. O‘Malveny & Myers LLP (CA) 2006 2006 CA 395.00 8.40 3318.00
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California Rate Report

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A_Schnelder, Bradley _ Munger Tollas & Olson LLC 2004 2004 CA $ 395.00 4.30 513.50
A Reagan. Matthew Wail, Gotshal & Manges LLP (CA) 2008 2008 CA 365.00 13.50 4,792.50
A Guzman, Tanya O'Melveny & Myers LLP (CA) 2007 2007 CA 330.00 2.50 825.00
PP Neqila. Ross O'Malveny & Myers LLP (CA) 260,00 6.20 1,612.00
Finalyson, Kathe Pachulskl Stang Ziehl Young Jonas & Waintraud (CA) 225,00 27.60 6,210.00
Jaffrios, Pavicla J, Pachulsk! Stang Zighl Young Jones & Weintraub (CA) 225,00 0.40 90.00
PP Pearson, Sanda Kiea, Tuchin, Bogdanoff & Starn, LLP CA 215.00 1.90 408.50
PP Floyd, Kevin Hennigan Bennett & Dorman LLP 210,00 0.30 83.00
PP Knotts, Cheryl __ Pachulski Stang Ziahl Young Jones & Welntraub (CA) 205.00 2.20 451.00
CMA Pitman, Shane Pachulskl Stang Ziahl Young Jones & Weintraud (CA) 125,00 2.60 325,00
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August 2009

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Case 4:07-cv-05944-JST Document 4071-16 Filed 09/23/15 Page 73 of 95

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PROFESSIONAL FIRM GRADUATED ADMITTEO STATE RATE HOURS TOTAL
P_Tolles, Stephen L. Glgson Dunn & Crutcher, LLP (CA) 1982 1982 CA § 860,00 9.10 $ 88.00
P_ Paterson, Thomas Klee, Tuchin, Boqdanoff & Stem, LLP 1984 1984 CA 850.00 225.00 197,250.00
P_ Tuchin, Michael Kléa, Tuchin, Bogdanoff & Stern, LLP 1990 1990 CA 850.00 74.40 63,240.00
P Stem, David Kise, Tuchin, Bogdanoff & Stern, LLP 41975 1975 CA 850.00 32.90 27,965.00
P_Issler, Paul S. Gibson Dunn & Crutcher, LLP (CA) 1986 1986 CA 440,00 6.35 5,334.00
P_Amold, Deonis Gibson Dunn & Crutcher, LLP (CA) 1975 1976 CA 849.00 4.10 3,444.00
P_ Timmons, 8rlan Quinn Emanvel Urquhart Oliver & Hedges, LLP 1991 1991 CA B20,00 72.80 59,696.00
© Ballack, Karen Weil, Gotshal & Manges LLP (CA) 1986 1986 CA 810.00 40.40 32,724.00
P Ziehl, Dean A. Pachulski Stang Zieh! Young Jones & Weintraub (CA) 1978 1978 CA 795,00 20.30 16,138.50
P_ Gilmore, Oanialle Quinn Emanvel Urquhar Oliver & Hedges, LLP 1993 1894 CA 775,00 9.50 7,362,50
P Averch, Craig White & Case LLP (CA) 4984 1984 CA 750.00 189.20 141,900.00
P_ Keller, Toblas Jonas Day (CA) 1990 1990 CA 750,00 4.90 1,425.00
P_ Baker, James Jones Day (CA) 1980 1980 CA 750.00 0.20 160.00
P_ Winston, Eric D. Quinn Emanuel Urquhart Oliver & Hedges, LLP 1999 1399 CA 740,00 7.10 5,254.00
P Ong, Johanna Y. Quinn Emanuel Urquhart Oliver & Hedges, LLP 1997 4997 CA 740.00 6.30 4,662.00
P_Komfeld, Alan Pachulski Stang Zlehl Young Jones & Weintraub (CA) 1987 4987 CA 725,00 10.10 7,322.50
A_ Bjork, Jeffrey E Sidley Austin Brown & Wood LLP (CA) 1997 1998 CA 700.00 140.90 77 630.00
P_ Myers, Martin Jones Day (CA) 1987 1987 CA 700.00 28.50 18,550.00
P_ Grassqreen, Debra l. Pachulski Stang Ziahl Young Jones & Weintraub (CA) 1991 1992 CA 695.00 5,50 3,822.50
A_ Gustafson, Mark E. White & Case LLP (CA) 1998 1998 CA 685,00 117.70 80,624.50
P_ Arash, Dora Gibson Dunn & Crutcher, LLP (CA) 1995 1995 CA 675,00 39.40 26,595.00
A_Gorsich, Ronald White & Casa LLP (CA) 2001 2001 CA 665.00 221.50 147,297.50
P_ Montgomery, Cromwell Gibson Dunn & Crutcher, LLP (CA) 1997 1997 CA §35.00 2.50 1,587.50
A Newman, Samuel Gibson Dunn & Crutcher, LLP (CA) 2001 200% CA 610.00 11,50 7,015.00
A_Delrahim, Shiva White & Case LLP (CA) 2003 2003 CA 600,00 217.50 130,500.00
A_ Scatt, Malanie White & Case LLP (CA) 2004 2004 CA 600.00 74.90 44,940.00
P_Trodella, Robert Jones Day (CA) 1996 1996 CA 600.00 35.30 27,180.00
A_ Ger Kwang-chlen, B. Weil, Gotshal & Manges LLP (CA) 2003 2003 CA 580.00 §4.20 31,436.00

OC Metcalf, Brian Klee, Tuchin, Bogdanoff & Stem, LLP 1999 1999 CA 575.00 12.40 7,130.00
A_€gdal, Oavid Gibson Dunn & Crutcher, LLP (CA) 2003 2003 CA 570.00 0.50 285.00
C Crosby IV, Peter Jones Day (CA) 1984 1984 CA 565.00 13.30 7,514.50
A_ Manin, Jill White & Case LLP (CA) 2006 2006 CA §50.00 45.80 25,190.00
A_ Correa, Michaeline Jones Day (CA) 2001 2001 CA 525.00 1.70 892.50

OC Brandt, Gina F. Pachulski Stang Zieh! Young Jones & Weintraub (CA) 1976 1976 CA 525.00 1.39 682.50
A_Maletlc, Michael Wail, Gotshal & Manges LLP (CA) __ 2005 2005 CA 500.00 475.30 87,650.00
A_ Rodriquez, Noel Jones Day (CA) 2003 2003 CA 500.00 41.60 20,900.00
A__Heyn, Mal(hew Klee, Tuchin, Boadanoff & Stern, LLP 2003 2003 CA 495.00 111.80 55,341.00
A_Barshog, Melissa Gibson Dunn & Crutcher, LLP (CA) 2008 2006 CA 470.00 4.10 1,927.00
A_Liu, Leslie Weill, Goisnhal & Manges LLP (CA) 2008 2006 CA 465.00 302.70 140,755.50
A_Chun, Sebyu! White & Case LLP (CA) 2008 2008 CA 460.00 162.10 74,566.00

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PROFESSIONAL IRM GRADUATED ADMITTED STATE RATE HOURS TOTAL
A_ Morison, Kelley M White & Case LLP (CA) 2008 2008 CA $ 460.00 105.50 48,530.00
A_Hawk, Jonathan White & Case LLP (CA) 2007 2007 CA 460.06 20.30 9,338.00
C_ Phillip, Laurence McKenna Long & Aldridge LLP (CA) 1997 1997 CA 450.00 15.00 6,750.00
P_Larsan, J David McKenna Long & Aldridge LLP (CA) 4997 1997 CA 450.00 10.00 4,500.00
A_Gvass, David Klee, Tuchin, Bogdanoff & Stem, LLP | 2005 2005 CA 430.00 366.70 157,681.00
A_Pozmantler, Courtney Klee, Tuchin, Bogdanolf & Stem, LLP 2005 2005 CA 430.00 23.20 9,976.00
A_ Dickerson, Matthew Sidley Austin Brown & Wood LLP (CA) 2007 2007 CA 425.00 25.30 10.752.50
A_Tran, William Sidley Austin Brown & Wood LLP (CA) 2006 2006 CA 425.00 §.40 2,295.00
A_Nathan, Joseph Weil, Golshal & Manaes LLP (CA) 2007 2007 CA 415.00 61,50 25,522.50
A_ Wilson, Lorna S. Gibson Qunn & Crutcher, LLP (CA) 2008 2008 CA 400.00 4.00 1,600.00
A_Simands, Ariella Sidley Austin Brown & Wood LLP (CA) 2008 2008 CA 375.00 49.30 18, 487,50
A_Daanihan, Kevin Klee, Tuchin, Boqdanoff & Stern, LLP 2008 2008 CA 390.00 4,70 4,410.00
A_Elllot, Korin Klee, Tuchin, Boadanotf & Stern, LLP 2008 2008 CA 300.00 2.10 630.00
LIB Forrester, Leslle A, Pachulski Stang Ziehl Young Jones & Weintraub (CA) 250.00 4.20 4.225.00
PPC Harris, Denise A. Pachulski Slang Zieh! Young Janes & Welntraub (CA) 225,00 8.50 1,912.50
PP Grycener, Michelle McKenna Long & Aldridge LLP (CA) 215.00 40,60 8,729.00
PP Pearson, Sanda Klee, Tuchin, Bogdanotf & Stern, LLP CA 215.00 36.00 ___7,740.00
PP Brown, Thomas J. Pachulski Stang Ziahl Young Jones & Weintraub (CA) 195.00 2.00 390.00
LIB Jones, Cara H. Gibson Dunn & Crutcher, LLP (CA) 165,00 0.50 82.50
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PROF ONAL FIRM GRAQUATEO ADMITTED STATE RATE HOURS TOTAL
P_ Pachulski, Richard M. Pachulski Stang Zlahl Young Jones & Welntraub (CA) 1979 1979 CA $ 895.00 287.62 257,419.90
P Patterson, Thomas Klee, Tuchin, Bogdanoff & Starn, LLP 1984 1984 CA 850.00 302.60 333.710,00
P_Tuchin, Michael Klee, Tuchin, Bogdanotf & Stern, LLP 1990 1990 CA 850.00 201.40 171,190.00
P_ Stem, David Klee, Tuchin, Bogdanoff & Stern, LLP 1975 1975 CA 850.00 68.80 $8,460.00
P_Pachulski, Richard M. Pachulski Stang Ziehl Young Jones & Weintraub (CA} 1979 1979 CA 850.00 68.00 57,800.00
P Amotd, Dennis Gibson Ounn & Crutcher, LLP (CA) 1975 1976 CA 840.00 1.00 - 840.00
PB Zieh, Dean A. Pachulski Stang Zlehl Young Jones & Waintraub (CA) 1978 1978 CA 625,00 256.25 211,406.25
P_ Timmons, Bdan Quinn Emanvel Urquhact Oliver & Hedges, LLP 1991 1991 CA 820.00 240.60 197,292.00
P_ Lyons, Quane Qaulan Emanuel Urquhart Oliver & Hedges, LLP 4888 1986 CA 820,00 80.20 65,764.00
P_ Orgel, Rober 8. Pachulski Stang Ziehl Young Jones & Weinlraub (CA) 1981 4981 CA 795.00 357.30 284,053.50
P_ Richards, Jeromy Pachulski Stang Zieh! Young Jones & Walntraub (CA) 1880 1981 CA 795.00 158.50 126,007.50
P Ziehl, aan A. Pachulski Stang Zieht Young Jones & Weintraub (CA) 1978 1978 CA 795,00 94.00 74,730.00
P_ 2iehl, OeanA. Pachulskl Stang Zlehl Young Jonas & Waintraub (CA) 1978 1978 GA 795.00 20.30 16,138.50
P_ Winslon, Eric 0, Quinn Emanuel Urquhart Oliver & Hedges, LLP 1999 1899 CA 740.00 $4.00 39,960.00
Ong, Johanna Y. Quinn Emanuel! Urquhart Oliver & Hedges, LLP 1997 1997 CA 740.00 11.20 8,288.00
P_Kormfeld, Alan Pachulskl Stang Zieh! Young Jones & Weintraub (CA) 1987 1987 CA 725.00 10.10 7,322.50
P  Grassgreen, Oebra |, Pachulski Stang Zieh Young Jones & Weintraub (CA) 1991 1992 CA 695.00 5.50 __ 3,822.50
C_ Calne, Andrew Pachutski Stang Ziehl Young Jones & Welntraub (CA) 1983 1983 CA 695.00 3.40 2.363.00
P_ Parker, Daryl Pachulskl Stang Zishl Young Jones & Walntraub (CA) 1969 1970 CA 675.00 60.80 41,040.00
P Mahoney, James Pachulskl Stang Ziehl Young Jones & Waintraub (CA) 1966 1987 CA 675.00 16.60 41,205.00
P_Arash, Dora Gibson Dunn & Crutcher, LLP (CA) 1995 1995 cA 675.00 14.80 9,990.00
P_Oavids, Ronn Klae, Tuchin, Bogdanoff & Stem, LLP 1995 1995 CA 650.00 1.40 910.00
A_ Newman, Samuel Gibson Ounn & Crutchar, LLP (CA) 2001 2001 CA 610,00 3.70 2,257.00
¢_Hachman. Harry Pachulski Stang Ziehl Young Jonas & Weintraub (CA) 1987 1987 CA 595.00 100.80 §9,976.00
A_Newmark, Victoria Pachulski Stang Ziehl Young Jones & Weintraub (CA) 1996 1897 CA 595.00 32.50 19,337.50
C_ Cho, Snidey Pachulski Stang Ziehl Young Jones & Weintraub (CA) 1937 1997 cA 595.00 19.40 11,543.00
C_Hochman, Hany Pachulsk! Stang Zieh! Young Jones & Weintraub (CA) 1987 1987 CA $75.00 57.60 33.420.00
A_Dinkelman, Jennifer Kles. Tuchin, Bogdanoff & Stern, LLP 1999 1999 CA 575.00 1.40 605.00
OC Matcalf, Brian Klee, Tuchin, Bagdanoff & Stern, LLP 1999 4999 CA 675.00 0.70 402.50
OC Brandt, Gina F. Pachulski Stang Zishl Young Jones & Welntraub (CA) 1976 19768 CA 525.00 1.30 682.50
A_Heyn, Mathew Kige, Tuchin, Bogdanoff & Stem, LLP 2003 2003 CA 495.00 109.70 54,301.50
P__ Brown, Gilllan Pachulski Stang Ziehl Young Jonas & Waintraub (CA) 1999 1999 CA 495.00 0.50 247.50
A_Barshop, Melissa Gibson Dunn & Crutcher, LLP (CA) 2006 2008 CA 470.00 2.10 987.00
A_ Liv, Lesile Well, Golshal & Manges LLP (CA) 2006 2006 CA 465.00 9.80 4.557.00
P_Phililo, Laurance McKenna Long & Aldridge LLP (CA) 1997 1997 CA 450.00 2.70 1,215.00
A_Guess, David Klea. Tuchin, Sogdanolf & Stem, LLP 2005 2005 CA 430.00 402.90 173,247.00
PP Sarlas, Joseph C Quinn Emanuel Urquhart Oliver & Hedges, LLP 380.00 4.60 1,748.00
A_ Elflot. Korin Klee, Tuchin, Bogdanoff & Siem, LLP 2008 2008 CA 300.00 16.60 4,980.00
PP Lacroix, Macine Quinn Emanue! Urquhsa Ojlvar & Hedges, LLP 250.00 20.30 $.075.00
LIB Forrester, Lestie A. Pachulski Slang Zieh! Young Jonas & Weintraub (CA) 250.00 4.90 1,225.00
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California Rate Report

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PROFESSIONAL FIRM GRAGUATED ADMITTED STATE RATE HOURS TOTAL
LIB Forrester, Leslia A, Pachulski Stang Ziehl Young Jones & Weintraub (CA) $ 250.00 1,80 $ 450.00
PP Hanis, Denisa A. Pachulski Stang Zieh! Young Jones & Weintraub (GA) 225.00 47.90 10,777.50
PP Hanis, Denise A. Pachulski Stang Zienl Young Jones & Weintraub (CA) 225.00 8.50 1,912.50
PP _Hanison, Felice Pachulskl Stang Zlehl Young Jones & Walntraub (CA) 225.00 0.40 90.00
PP Grycener, Micheila McKenna Long & Aldridge LLP (CA) 215.00 60.40 12,986.00
PP Pearson, Sanda Klee, Tuchin, Bogdanoff & Stem, LLP 215,00 52.40 11,266.00
PP Brown, Thomas J, Pachulski Stang Zieh! Young Jonas & Weintraub (CA) 195.00 59.75 11,651.25
PP Matteo, Mike Pachulski Stang Zlahi Young Jonas & Welntraub (CA) 195.00 6.00 1,170.00
PP_ Brown, Thomas J. Pachulski Stang Ziehl Young Jones & Welntraub (CA) 195.00 2.00 380,00
LS_Everheart, Christine McKenna Long & Aldridge LLP (CA) 480.00 3.00 540.00
PP Sahn, Andrew Pachulski Stang Ziehl Young Jones & Weintraub (CA) 150.00 16.90 2,835.00
PP Bass, John Pachulskl Stang Zieh| Young Jonas & Weintraub (CA) 150.00 0.80 120.00
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2010. NLJ Billing Survey

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5. 2010/Cazen O’Cennar-- {Philadelphia | “$422 "F $ea0_ $370 Sor S585 | $225. __$326°
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201 0!Curtis, Mailet-Prevost, Coit[New York , $489 | $786 «| S875 $669 $575, ; $296 f 3365
& Mosle_ . os
F -2010Davis Wright Tremaine __|Seatie sf «$355 «dS S785 «dT S09 $466 | $435 So70 : $304
_ 2010/Day Pitney Florhart pe oo - —
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Case 4:07-cv-05944-JST Document 4071-16 Filed 09/23/15 Page 81 of 95

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2010|Duane Morris Philadelphia. | $483" | $a50__| $240} g5s0 1] sago b135- $349
2010| Dykema Gossett. ‘Detroit | $445 | $635" | s360° =F gags ye b2 25 $325
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nn 2\0] Faegre & Bensen LLP [Minneapolis | _ _ jf snc

' 2010|Finnegan, Henderson, Washington’ |
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. Fish & Richardson. Boston : ah . .
_.2010|Fisher & Phillips. _————*s(Atlanta | 505. | ssae 7 t_.. S360 | $220
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__2010} Frost Brown Todd Cincinnati" “| -$279 OT ep $200 ees ft ‘$250 ut ..9150°, | $489
(2010 Fulbright & Jaworski” ____ {Houston * eee bE | __
1” _2010/Gardere. Wynne. Sewell Dallas: oo be
-20101Gibbons— “INewark NJ ob
'2010/Gibson, Dunn & Crutcher {Los Angeles _
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Case 4:07-cv-05944-JST Document 4071-16 Filed 09/23/15 Page 82 of 95

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Poitevent, ‘Carrare &

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| __2010)Lewis, Rice & Fingersh . St Louis aot 5260 3315 | $160
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O[McGuireWoods _ gRichmond, $485" $aa0°—*~d S325 Bass SB | $220 $355
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2610) Miles & Stockbridge” Baltimore. ; $. S695 =F S395 _ : $370 : $220.

2010|Miller & Martin Chattanooga, $328. | $610 - $235 | $364 $275 .

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2010| Miller, Canfield, Paddock [Detroit

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__ 2010|Nixon Peabady |. New Yor | $499 | ‘$005 93/6 | $613 7 $680 $195 i $386
20i0|\O'Melveny & Myers Los Angeles. ~ —— fb — oe Ee
~ 2010/ Ogletree; Deakins, Nash, (Greenville, [ $351 | $575 [| $300 $369 $390 CO 8 1985 $285
Smoak & Stewart SC. : . [ :

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Case 4:07-cv-05944-JST Document 4071-16 Filed 09/23/15 Page 85 of 95

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Philadelphia. |

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New Orleans

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Case 4:07-cv-05944-JST

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Case 4:07-cv-05944-JST Document 4071-16 Filed 09/23/15 Page 91 of 95

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Bankruptcy Rates Top $1,000 Mark in 2008-09

Amy Kolz
The Amercan Lawyer
December 16, 2008

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A review of bankruptey rates in Delaware and the Southern District of New York shows that a handful of
U.S.-based partners at Am Law 200 firms have inched above the $1,000 rate barrier, making bankruptcy
work as lucrative as it was plentiful in 2008 and 2009. Over a 12-month periad ending August 2009, ihere
were more than 15,000 billing rate entries submitted by law firms in the nation's two busiest bankruptcy
courts, according to a new database compiled by ALM Media.

Among U.S.-based lawyers at Am Law 200 firms, Shearman & Sterting tax pariner Berrie Pistillo topped
the rate chart with an hourly fee of $1,065 for his work on the bankruptcy of Stock Building Supply Hollings
LLC, a building products supplier, in Delaware. (One solo practitioner in Pleasantville, N.Y., Alan Harris,
surpassed Pistilo’s rate, charging $1,200 an hour for his work as special real estate Higation counsel an the
bankruptcy of Digital Printing Systems in the Southern District of New York.) Eleven other U.S.-based Am
Law 200 partners were in the $1,000-pius club, according to the database. Cadwatader, Wickershars &
Taft financial restructuring co-chair Deryck Palmer, a former Well, Gotshal & Manges partner, billed
Lyoriell Chemical Co, at a rate of $41,050 for work on its 2008 bankrupicy. Greenberg Traurig bankruptcy
co-chair Bruce Zirinsky, who jel Cadwalader last January, béled $1,050 an hour as debtor's counsel for TH
Agrisuiture and Nutrition LLC, as did White & Case global restructuring haad Thomas Lauria for WCl
Communities inc., and Rabert Pincus, the head of the corporate practice in Skadden, Arps, Slate, Meagher
& Flom’s Wilrington office, for Hayes Lemmerz international Inc., an automotive wheel supplier.

Neal Stoll, a Skadden antitruet partner, anc Sally Thurston, a Skadden tax partner, billed $1,035 for work on
the bankruptcies of VeraSun Energy Corp, and Hayes Lemmerz, respectively, white Latham & Watkins
torporate finance chair Kirk Davenport billed at $7,025 an hour for Dayton Superior Corp.'s fling. Paul,
Weiss, Rifkind, Wharton & Garrison partners Cart Raisner and Richard Bronstein billed at $1,025 for the
Buffets inc,, bankruptcy, (Reisner is co-head of the firm's M&A practice and Bronstein is co-chair of its tax
practice.) Simpson Thacher & Bartlett partners Lee Meyerson and litigator Michael Chepiga charged
Lehman Srothers $1,000 an hour on the sale of iis brokerage to Barclays Bank PLC.

Absent from the $1,000 club are Weil, Gotshal & Manges restructuring gurus Harvey Miller and Marcia
Goldstein. Both clocked rates of $950 an hour for their work on the Lehman Brothers and BearingPoint inc.
barkruptcies, respectively. Also, Kirkland & Elfis' James Sprayregen billed $965 an hour for work on the
bankruptcies of Lear Corp. and The Reader's Digest Association, And Jones Day partner Corinna Bail
charged $800 an hour for her work on Chrysier's filing.

- Comparing the median partner rates among Am Law 200 firms in the database demonstrated that there are

few bargains when it comes to Chapter 41 work. Among those charging median partner rates of more than
3900 an hour were: Cadwalader, Cleary Gottlieb Steen & Hamilton, Davis Polk & Wardwell; Milbank,
Tweed, Hadley & McCloy; Paul Veiss; Shearman & Steding; Simpson Thacher; and Skadden, Firms with
median partner billing rates between $800 and $906 were Gibson Dunn, Fried Frank, Latham, Paul Hastings,
Weil Gotshal, and White & Case, Firms billing $700 or below were Akin Gump Strauss Hauer & Feld,
Kirkland, Sidley Austin, and Sonnenschein Nath & Rosenthal. (Medians can be deceNing, since some firms,
such as Kirkland, had a difference of more than $500 between its highest- and lowest-rata partners.)

The bankruptcy case with one of the highest median partner rates was Nortel Networks. The phone
equipment maker paid firms such as Cleary and Kirkland a median partner rate of $940. Firms working on
the Lehman fling billed a median partner rate of $2870 during the time period, while firms working on the filing
of Tribune Co. billed a median of $690, according to the database.

Associate rates occasionally topped $700 ar hour on Sankrupicies including Lehman and Nortel Netwarks,
as wall as that of the jesser-known Sportsman's Warehouse. Discovery attorneys, research specialists and
benefits consultants sometimes biled between $500 and $800 on cases such as Nortel, Charter
Communications and Graphies Properties Holdings inc.

FIRM NEDIN PARTNER RATE# PARTNERS FILING
Simpson Thacher $980 3g
Cieary Gottlieb $960 A?
Shearman & Sterling $950 17
Davis Palk $948 14
Skadden $945 38
Paul Weiss $925 24
Cadwalader $900 28
Milbank $900 55
Wail Gotshal $843 142
Gibson Dunn $840 23
Fried Franc : $83 548
Latham & Watkins $830 57
White & Case 3826 21
Paul Hastings $810 46
Sidley Austin $706 §9
Akin Gump $690 79

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Kirkland | $675 j 42
Sonnenschein i $625 i 47

*U.S.-based partners only,

The American Lawyer will publish a detailed anaiysis of the bankruptcy billing rates in its February 2010
issue,
Click here to order the Excel® version of the 2669 Bankruntey Billing Rates Report.
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